              Case 2:13-cr-02094-TOR                      ECF No. 773                filed 10/14/14         PageID.3022 Page 1 of 6
                                                                                                                                        FILED IN THE
2$2%        5HY -XGJPHQWLQD&ULPLQDO&DVH                                                                             U.S. DISTRICT COURT
                                                                                                                              EASTERN DISTRICT OF WASHINGTON
               6KHHW5HYLVHGE\:$('

                                                                                                                               Oct 14, 2014
                                             81,7('67$7(6',675,&7&2857                                                          SEAN F. MCAVOY, CLERK

                                               (DVWHUQ'LVWULFW RI :DVKLQJWRQ
          81,7('67$7(62)$0(5,&$                                            JUDGMENT IN A CRIMINAL CASE
                     V.
                                                                              &DVH1XPEHU            2:13CR02094-TOR-25
          ALFREDO SANCHEZ-ARREDONDO
                                                                              8601XPEHU             16765-085

                                                                                     Nicholas Wright Marchi
                                                                              'HIHQGDQW¶V$WWRUQH\




THE DEFENDANT

✔SOHDGHGJXLOW\WRFRXQW V
G                                     10 of the Indictment
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
   ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
   DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                    Nature of Offense                                                                            Offense Ended         Count
7 USC § 2156(a)(1) &             Unlawful Animal Fighting Venture                                                                  07/21/12                10
        18 USC § 2




       7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                         6         RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
WKH6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
✔&RXQW V
G                1, 2, 14, 16, & 18-21                     G LV         ✔DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                        G
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                                                     10/14/2014
                                                             'DWHRI,PSRVLWLRQRI-XGJPHQW
                                                                          RVLWLRQRI -XXG
                                                                                        GJP
                                                                                          JP
                                                                                          JPHHQ
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                                                             6LJQDWXUHRI-XGJH
                                                                          I -XGJHH




                                                           The Honorable Thomas O. Rice                            Judge, U.S. District Court
                                                             1DPHDQG7LWOHRI-XGJH
                                                             


                                                                                                     10/14/2014
                                                             'DWH
                                                             
                Case 2:13-cr-02094-TOR                   ECF No. 773         filed 10/14/14          PageID.3023 Page 2 of 6
$2%        5HY -XGJPHQWLQ&ULPLQDO&DVH
              6KHHW²,PSULVRQPHQW

                                                                                                           -XGJPHQW²3DJH   2   RI   6
'()(1'$17 ALFREDO SANCHEZ-ARREDONDO
&$6(180%(5 2:13CR02094-TOR-25


                                                                IMPRISONMENT

        7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
WRWDOWHUPRI      time served




  G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV




  G 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

  G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          G     DW                                     G DP     G SP         RQ                                          

          G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

  G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
          G     EHIRUHSPRQ                                             

          G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

          G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                      RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                             WR

DW                                                     ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



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                                                                                                     '(387<81,7('67$7(60$56+$/
               Case 2:13-cr-02094-TOR                    ECF No. 773        filed 10/14/14        PageID.3024 Page 3 of 6
$2%       5HY -XGJPHQWLQD&ULPLQDO&DVH
             6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                           -XGJPHQW²3DJH
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'()(1'$17 ALFREDO SANCHEZ-ARREDONDO
&$6(180%(5 2:13CR02094-TOR-25
                                                          SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI            3 years



        7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURPWKH
FXVWRG\RIWKH%XUHDXRI3ULVRQV
7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
      IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)

✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
G
✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
G

G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&et seq
  DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
      ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
        ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
         7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDO
                                                                                                                                    FRQGLWLRQV
RQWKHDWWDFKHGSDJH

                                          STANDARD CONDITIONS OF SUPERVISION
         WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
         WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQ XQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
          DFFHSWDEOHUHDVRQV
         WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
         WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
          FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
         WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
         WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
          IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
          FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
        WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQ LQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRX WWKH
          SHUPLVVLRQRIWKHFRXUWDQG

        DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
          UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWK HSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
          GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
            Case 2:13-cr-02094-TOR                    ECF No. 773      filed 10/14/14        PageID.3025 Page 4 of 6
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW&²6XSHUYLVHG5HOHDVH
                                                                                                      -XGJPHQW²3DJH      4     RI        6
'()(1'$17 ALFREDO SANCHEZ-ARREDONDO
&$6(180%(5 2:13CR02094-TOR-25

                                         SPECIAL CONDITIONS OF SUPERVISION
 14) Defendant shall submit his person, residence, office, vehicle and belongings to a search, conducted by a U.S. probation officer, at a
 sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision.
 Failure to submit to search may be grounds for revocation. Defendant shall warn persons with whom he shares a residence that the
 premises may be subject to search.

 15) Defendant shall not own, possess, keep, control, breed, train, buy, sell, or advertise or offer to sale any live poultry without advance
 approval of your supervising officer.

 16) Defendant shall not knowingly promote, organize, conduct, participate in, is a spectator of, advertise, prepare, or perform any
 service in the furtherance of, an exhibition of animal fighting, transport spectators to an animal fight, or provide or serve as a
 stakeholder for any money wagered on an animal fight at any place or building.

 17) Defendant shall not own, possess, keep, buy, sell or advertise paraphernalia involved in cockfighting, including, but not limited to
 knives, gaffs, slashers, or any sharp implement designed to be attached in place of the natural spur of a gamecock or other fighting bird.
             Case 2:13-cr-02094-TOR                    ECF No. 773       filed 10/14/14        PageID.3026 Page 5 of 6
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      5      RI         6
'()(1'$17 ALFREDO SANCHEZ-ARREDONDO
&$6(180%(5 2:13CR02094-TOR-25
                                                CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                    Fine                                  Restitution
TOTALS                $100.00                                       $1,000.00                             $0.00


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO           $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                        Total Loss*          Restitution Ordered        Priority or Percentage




TOTALS                                                     0.00                                 0.00


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
             Case 2:13-cr-02094-TOR                     ECF No. 773         filed 10/14/14      PageID.3027 Page 6 of 6
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH     6      RI       6
'()(1'$17 ALFREDO SANCHEZ-ARREDONDO
&$6(180%(5 2:13CR02094-TOR-25

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A    G    /XPSVXPSD\PHQWRI                             GXHLPPHGLDWHO\EDODQFHGXH

          G      QRWODWHUWKDQ                                   RU
          G      LQDFFRUGDQFH           G &          G '   G     (RU    G )EHORZRU
B    ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
     G                                                                      G &     G 'RU     ✔)EHORZ RU
                                                                                                 G
C    G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                       HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G    3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
          WHUPRIVXSHUYLVLRQRU

E    G    3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
          LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $75.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after the Judgment is filed.




8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
GXULQJLPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW&RXUW$WWHQWLRQ
)LQDQFH32%R[6SRNDQH:$

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

G    -RLQWDQG6HYHUDO

     &DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU DQG'HIHQGDQWDQG&R'HIHQGDQW1DPHV7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G    7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G    7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

G    7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
